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 8                         UNITED STATES DISTRICT COURT
 9                       CENTRAL DISTRICT OF CALIFORNIA
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      United States Postal Service,  )              SACV 12-00177 JVS (JPRx)
11                                   )
                                     )              ORDER OF DISMISSAL UPON
12               Plaintiff,          )
                                     )              SETTLEMENT OF CASE
13          v.                       )
                                     )
14    Stephen R Goldsmith et al,     )
                                     )
15               Defendant(s).       )
                                     )
16                                   )
      ______________________________ )
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18          The Court having been advised by the counsel for the parties that the above-
19    entitled action has been settled,
20      IT IS ORDERED that this action be and is hereby dismissed in its entirety without
21    prejudice to the right, upon good cause being shown within 45 days, to reopen the
22    action if settlement is not consummated.
23
24    DATED:       January 29, 2013
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25                                                   James V. Selna
                                                  United States District Judge
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